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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
      v.                             )
                                     ) Crim. Action No. 22-0251-3 (ABJ)
BENJAMIN SCOTT ROBINSON,             )
                                     )
                  Defendant.         )
____________________________________)


                                              ORDER

       Upon consideration of the motion of Benjamin Robinson (3) to modify conditions of

release to allow interstate travel for business purposes [Dkt. # 42], the motion is hereby

GRANTED. It is ORDERED that the defendant may travel to Baltimore, Maryland from

November 17–20, 2022 to attend the American Towman Exposition. Defendant shall provide the

Pretrial Services Agency with a copy of this Order and his specific travel itinerary for the trip prior

to his departure. Defendant may not travel to any location aside from that set out above and must

contact Pretrial Services within the first business day by telephone upon his return.

       Any future requests to travel must be made at least two business days before the date of

requested travel.

       SO ORDERED.



                                               AMY BERMAN JACKSON
                                               United States District Judge


DATE: November 16, 2022
